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                                                                        Ex. B-5
                                   Michael Bianco, et al. v. Islamic Republic of Iran, No. 1:20-cv-10902 (GBD) (SN)

                                                    (Alphabetically by Last Name of 9/11 Decedent)

                                         DECEDENT                                                 Non-Economic
                         DECEDENT                      DECEDENT Last   Suffix     Economic                       TOTAL Damage
                                          Middle                                                    Damage
                         First Name                        Name        Name     Damage Amount                       Amount
                                           Name                                                     Amount

                   1.       Otis          Vincent         Tolbert                 $8,396,553.00                    $8,396,553.00



                        TOTALS                                                    $8,396,553.00                    $8,396,553.00




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